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                            EXHIBIT 19




                                                           Exhibit 19 - 001
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                                                          Exhibit 19 - 002
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                                                          Exhibit 19 - 003
Case 8:21-cv-00541-CEH-SPF Document 29-1 Filed 04/05/21 Page 4 of 15 PageID 818


   From:
   To:             Thomas, Kimberly L
   Subject:        Lifted Detainer DOC#149451 PINEDA-Ortuno
   Date:           Thursday, March 11, 2021 8:48:32 AM
   Attachments:    lifted detainer DOC#149451.pdf


  Good morning,
  Please see attached lifted detainer, due to new guidelines.
  Thank you,

  Deportation Officer, Criminal Alien Program
  Miami Field Officer Tallahassee Sub-Office
  Enforcement and Removal Operations
  U.S Immigrations and Customs Enforcement
  1530 Commonwealth Business Dr.
  Tallahassee, Florida 32303
  Office:




                                                                Exhibit 19 - 004
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                                                           Exhibit 19 - 005
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                                                      NOTICE TO THE DETAINEE
 The Department of Homeland Security (DHS) has placed an immigration detainer on you. An immigration detainer is a notice to a
 law enforcement agency that DHS intends to assume custody of you ( after you otherwise would be released from custody)
 because there is probable cause that you are subject to removal from the United States under federal immigration law. DHS has
 requested that the law enforcement agency that is currently detaining you maintain custody of you for a period not to exceed 48 hours
 beyond the time when you would have been released based on your criminal charges or convictions. If DHS does not take you into
 custody during this additional 48 hour period, you should contact your custodian (the agency that is holding you now) to inquire
 about your release. If you have a question or complaint regarding this detainer, please contact the ICE ERO Detention
 Reporting and Information Line at (888) 351-4024. For complaints related to alleged violations of civil rights or civil liberties
 connected to DHS activities, please contact the Joint Intake Center at (877) 2INTAKE (877-246-8253). If you believe you are a
 United States citizen or the victim of a crime, please advise DHS by calling the ICE Law Enforcement Support Center toll free
 at (855) 448-6903.



                                                   NOTIFICACIÓN AL DETENIDO
El Departamento de Seguridad Nacional (DHS) ha emitido una orden de detención inmigratoria en su contra. Una orden de detención
inmigratoria es un aviso a la autoridad de seguridad pública que DHS tiene la intención de asumir custodia sobre usted (después que
normalmente hubiera sido liberado de su custodia) porque existe causa probable que usted esté sujeto a ser removido de los Estados
Unidos bajo la ley federal de inmigración. DHS ha pedido que la autoridad de seguridad pública que actualmente lo tiene detenido lo / la
mantenga en su custodia por un período que no sobrepase 48 horas después del momento cuando usted hubiera sido liberado basado
en sus cargos o condenas criminales. Si DHS no lo toma bajo su custodia durante este período adicional de 48 horas, usted debe
contactar a la agencia responsable por su custodia (la que actualmente lo tiene detenido) para preguntar acerca de su liberación. Si
usted tiene alguna pregunta o queja concerniente a esta orden de detención, por favor contacte la Línea para Reportar e
Información de ICE ERO al (888) 351-4024. Para quejas relacionadas a violaciones alegadas de derechos civiles o libertades
civiles conectadas a las actividades de DHS, por favor contacte al Joint Intake Center (Centro de Admisión) al (877) 2INTAKE
(877-246-8253). Si usted cree ser un ciudadano de los Estados Unidos o víctima de un crimen, por favor avísele a DHS llamando
gratis al ICE Law Enforcement Support Center (Centro de Apoyo de ICE para las Agencias para el Cumplimiento de la Ley) al
(855) 448-6903.
                                                                    ED


                                                               AVIS AU DETENU
Le Département de la Sécurité Nationale (en anglais: DHS) a émis un ordre d’arrêt d’immigration contre vous. Un ordre d’arrêt
                                                                FT




d’immigration est un avis à un organisme d’application de la loi que DHS a l’ intention d’assumer votre garde (après votre libération) car il
existe cause probable que vous soyez sujet à l’expulsion des Etats-Unis en vertu du droit fédéral de l’immigration. DHS a demandé à
                                                             LI




l’agence d’application de la loi qui actuellement vous détient, de vous maintenir sous garde pendant une période n’excédant pas 48
heures après avoir été libéré en fonction des accusations ou condamnations criminelles contre vous. Si DHS ne vous prend pas en
garde à vue au cours de cette période de 48 heures supplémentaires, vous devez contacter votre gardien (l’agence qui vous
retient aujourd’hui) pour enquérir au sujet de votre libération. Si vous avez une question ou une complainte au sujet de cette
demande, veuillez contacter la Ligne pour Rapporter et d’Information de ICE ERO au (888) 351-4024. Pour les plaintes relatives à
des violations présumées des droits et libertés civils liés à des activités de DHS, veuillez contacter Joint Intake (Centre
d’Admissions) au (877) 2INTAKE (877-246-8253). Si vous croyez que vous êtes un citoyen américain ou victime d’un crime,
veuillez prévenir DHS, en appelant gratuitement ICE Law Enforcement Support Center (Centre d’Appui de ICE pour les
Organismes d’Application de la Loi) au 855 448-6903.



                                                         AVISO AO DETENTO
O Departamento de Segurança Interna (DHS, pela sigla americana) emitiu uma ordem de custódia imigratória em seu nome. Este
documento é um aviso enviado às agências de aplicação da lei de que o DHS pretende assumir a custódia da sua pessoa, caso seja
                                                                    ED




libertad. O DHS pediu que a agência de aplicação da lei encarregada da sua atual detenção mantenha-o sob custódia durante, no
máximo, 48 horas após o periodo em que seria libertado pelas autoridades estaduais ou municipais de aplicação da lei, de acordo com
                                                                FT




as respectivas acusaçoes e penas criminais. Se o DHS nao assumir a sua custódia durante essas 48 horas adicionais, voce deverá
entrar em contato com a agência custodiante (a agência de aplicação da lei ou qualquer outra entidade que esteja detendo-o no
                                                             LI




momento) para obter informações sobre sua libertação da custódia estadual ou municipal. Caso voce tenha alguma reclamação a
fazer sobre esta ordem de custódia imigratória ou relacionada a violações dos seus direitos ou liberdades civis decorrente das
atividades do DHS, entre em contato com o Joint Intake Center, que seja o Centro de Entrada Conjunta da Agência de Controle
de Imigração e Alfândega (ICE, pela sigla americana) pelo telefone 1-877-246-8253. Se você acreditar que é cidadao dos EUA ou
está sendo vítima de um crime, informe ao DHS, ligando para o Law Enforcement Support Center, que seja o Centro de Apoio
para Aplicação da Lei do ICE pelo telefone de ligação gratuita (855) 448-6903.




 DHS Form I-247D (5/15)                                                                                                         Page 2 of 3
                                                                                                        Exhibit 19 - 006
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                                                THÔNG BÁO CHO NGƯỜI ĐANG BỊ GIAM
Bộ An ninh Nội địa Mỹ (DHS) có lệnh giam giữ ông/bà vì lý do liên quan đến luật di trú. Lệnh giam giữ vì lý do liên quan đến luật di trú là
thông báo của DHS cho các cơ quan thi hành luật pháp là DHS có ý định dành thẩm quyền để tạm giữ ông/bà (sau khi ông/bà được thả).
Lý do là, theo luật di trú của liên bang Mỹ, DHS có lý do chính đáng để xếp ông/bà vào diện có thể bị trục xuất ra khỏi Mỹ. DHS đã yêu
cầu cơ quan thi hành luật pháp, nơi đang giam ông/bà, phải tiếp tục giam ông/bà thêm cho đến tối đa không được quá 48 tiếng đồng hồ,
thời điểm mà ông/bà coi như đã được thả, căn cứ vào lời buộc tội hoặc bản án kết tội của tòa. Nếu trong vòng 48 tiếng đồng hồ bổ
sung này mà DHS không đến nhận ông/bà, thì ông/bà nên liên lạc với nhân viên quản lý của mình (nơi đang giam giữ ông/bà) để
biết chi tiết về vấn đề được thả ra khỏi nhà giam. Nếu ông/bà có thắc mắc hoặc khiếu nại về lệnh tạm giữ này, xin liên lạc với ICE
ERO Detention Reporting and Information Line ở số (888) 351-4024. Nếu ông/bà có phàn nàn về các hoạc động, công tác của
DHS mà ông/bà cho là có vi phạm đến dân quyền hoặc tự do dân quyền, xin liên lạc Joint Intake Center ở số (877) 2INTAKE
(877-246-8253). Nếu ông/bà tin rằng mình có quốc tịch Mỹ, hoặc mình là nạn nhân trong vụ tội, xin gọi ICE Law Enforcement
Support Center ở số điện thoại miễn phí (855) 448-6903 để báo cho DHS biết.




                                                                 ED
                                                               FT
                                                            LI
                                                                   ED
                                                               FT
                                                            LI




 DHS Form I-247D (5/15)                                                                                                       Page 3 of 3
                                                                                                      Exhibit 19 - 007
Case 8:21-cv-00541-CEH-SPF Document 29-1 Filed 04/05/21 Page 8 of 15 PageID 822




                                                           Exhibit 19 - 008
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                                                 DEPARTMENT OF HOMELAND SECURITY
                                     IMMIGRATION DETAINER - NOTICE OF ACTION
Subject ID:     369863181                                                                        File No:   208 337 174
Event #:        JAC2102000033                                                                    Date:      February 11, 2021

TO: (Name and Title of Institution - OR Any Subsequent Law                  FROM: (Department of Homeland Security Office Address)
     Enforcement Agency) LAKE CITY CORRECTIONAL IN                           ERO - Jacksonville, FL Sub Office
                         7906 EAST HWY 90                                    ICE
                         LAKE CITY, FL 320550000                             ERO JACKSONVILLE Sub Office
                                                                             13077 VEVERAS DRIVE
                                                                             JACKSONVILLE, FL 32258

Name of Alien:      GASPAR PASCUAL, JOSE AKA: Gasparpascual, Jose Carlos; Gaspar-Pascual, Jose Carlos


Date of Birth:                                     Citizenship:                       GUATEMALA                                Sex:              M


 1. DHS HAS DETERMINED THAT PROBABLE CAUSE EXISTS THAT THE SUBJECT IS A REMOVABLE ALIEN. THIS
    DETERMINATION IS BASED ON (complete box 1 or 2).                                 SID #: FL08496664

       A final order of removal against the alien;
       The pendency of ongoing removal proceedings against the alien;
       Biometric confirmation of the alien’s identity and a records check of federal databases that affirmatively indicate, by themselves
       or in addition to other reliable information, that the alien either lacks immigration status or notwithstanding such status is
       removable under U.S. immigration law; and/or
       Statements made by the alien to an immigration officer and/or other reliable evidence that affirmatively indicate the alien either
       lacks immigration status or notwithstanding such status is removable under U.S. immigration law.

 2. DHS TRANSFERRED THE ALIEN TO YOUR CUSTODY FOR A PROCEEDING OR INVESTIGATION (complete box 1 or 2).

       Upon completion of the proceeding or investigation for which the alien was transferred to your custody, DHS intends to resume
       custody of the alien to complete processing and/or make an admissibility determination.
                                                                          D


IT IS THEREFORE REQUESTED THAT YOU:
                                                                      E



   • Notify DHS as early as practicable (at least 48 hours, if possible) before the alien is released from your custody.
                                                                   FT




                                                                                                                           Please notify
    DHS by calling            U.S. Immigration and Customs Enforcement (ICE) or             U.S. Customs and Border Protection (CBP) at
                                                                LI




        9042884600          . If you cannot reach an official at the number(s) provided, please contact the Law Enforcement Support
     Center at: (802) 872-6020.
   • Maintain custody of the alien for a period NOT TO EXCEED 48 HOURS beyond the time when he/she would otherwise have
     been released from your custody to allow DHS to assume custody. The alien must be served with a copy of this form for the
     detainer to take effect. This detainer arises from DHS authorities and should not impact decisions about the alien’s bail,
     rehabilitation, parole, release, diversion, custody classification, work, quarter assignments, or other matters
   • Relay this detainer to any other law enforcement agency to which you transfer custody of the alien.
   • Notify this office in the event of the alien's death, hospitalization or transfer to another institution.
                                                                                                              02/11/2021
       If checked: please cancel the detainer related to this alien previously submitted to you on                                (date).


                 (Name and title of Immigration Officer)                                 (Signature of Immigration Officer) (Sign in ink)
                                                                        ED




 Notice: If the alien may be the victim of a crime or you want the alien to remain in the United States for a law enforcement purpose,
 notify the ICE Law Enforcement Support Center at (802) 872-6020. You may also call this number if you have any other questions or
                                                                  FT




 concerns about this matter.
                                                                LI




TO BE COMPLETED BY THE LAW ENFORCEMENT AGENCY CURRENTLY HOLDING THE ALIEN WHO IS THE SUBJECT OF THIS
NOTICE:

Please provide the information below, sign, and return to DHS by mailing, emailing or faxing a copy to                                       .
Local Booking/Inmate #:                 Estimated release date/time:
Date of latest criminal charge/conviction:                       Last offense charged/conviction:

This form was served upon the alien on                            , in the following manner:

    in person           by inmate mail delivery            other (please specify):


                   (Name and title of Officer)                                                      (Signature of Officer) (Sign in ink)
DHS Form I-247A (3/17)                                                                                                                      Page 1 of 3

                                                                                                                Exhibit 19 - 009
     Case 8:21-cv-00541-CEH-SPF Document 29-1 Filed 04/05/21 Page 10 of 15 PageID 824

                                             NOTICE TO THE DETAINEE
The Department of Homeland Security (DHS) has placed an immigration detainer on you. An immigration detainer is a
notice to a law enforcement agency that DHS intends to assume custody of you (after you otherwise would be released
from custody) because there is probable cause that you are subject to removal from the United States under federal
immigration law. DHS has requested that the law enforcement agency that is currently detaining you maintain custody of
you for a period not to exceed 48 hours beyond the time when you would have been released based on your criminal
charges or convictions. If DHS does not take you into custody during this additional 48 hour period, you should
contact your custodian (the agency that is holding you now) to inquire about your release. If you believe you are a
United States citizen or the victim of a crime, please advise DHS by calling the ICE Law Enforcement Support
Center toll free at (855) 448-6903.


                                     NOTIFICACIÓN A LA PERSONA DETENIDA
El Departamento de Seguridad Nacional (DHS) le ha puesto una retención de inmigración. Una retención de inmigración
es un aviso a una agencia de la ley que DHS tiene la intención de asumir la custodia de usted (después de lo contrario,
usted sería puesto en libertad de la custodia) porque hay causa probable que usted está sujeto a que lo expulsen de los
Estados Unidos bajo la ley de inmigración federal. DHS ha solicitado que la agencia de la ley que le tiene detenido
actualmente mantenga custodia de usted por un periodo de tiempo que no exceda de 48 horas más del tiempo original
que habría sido puesto en libertad en base a los cargos judiciales o a sus antecedentes penales. Si DHS no le pone en
custodia durante este periodo adicional de 48 horas, usted debe de contactarse con su custodio (la agencia que
le tiene detenido en este momento) para preguntar acerca de su liberación. Si usted cree que es un ciudadano de los
Estados Unidos o la víctima de un crimen, por favor avise al DHS llamando gratuitamente al Centro de Apoyo a la
Aplicación de la Ley ICE al (855) 448-6903.


                                          AVIS AU DETENU OU À LA DÉTENUE
 Le Département de la Sécurité Intérieure (DHS) a placé un dépositaire d'immigration sur vous. Un dépositaire
                                                         ED


 d'immigration est un avis à une agence de force de l'ordre que le DHS a l'intention de vous prendre en garde à vue
 (après celà vous pourrez par ailleurs être remis en liberté) parce qu'il y a une cause probable que vous soyez sujet à
                                                     FT




 expulsion des États-Unis en vertu de la loi fédérale sur l'immigration. Le DHS a demandé que l'agence de force de
                                                   LI




 l'ordre qui vous détient actuellement puisse vous maintenir en garde pendant une période ne devant pas dépasser 48
 heures au-delà du temps après lequel vous auriez été libéré en se basant sur vos accusations criminelles ou
 condamnations. Si le DHS ne vous prenne pas en garde à vue au cours de cette période supplémentaire de 48
 heures, vous devez contacter votre gardien (ne) (l'agence qui vous détient maintenant) pour vous renseigner sur
 votre libération. Si vous croyez que vous êtes un citoyen ou une citoyenne des États-Unis ou une victime d'un
 crime, s'il vous plaît aviser le DHS en appelant gratuitement le centre d'assistance de force de l'ordre de l'ICE au
 (855) 448-6903



                                            NOTIFICAÇÃO AO DETENTO
O Departamento de Segurança Nacional (DHS) expediu um mandado de detenção migratória contra você. Um mandado
de detenção migratória é uma notificação feita à uma agência de segurança pública que o DHS tem a intenção de
assumir a sua custódia (após a qual você, caso contrário, seria liberado da custódia) porque existe causa provável que
                                                         D




você está sujeito a ser removido dos Estados Unidos de acordo com a lei federal de imigração. ODHS solicitou à agência
                                                       TE




de segurança pública onde você está atualmente detido para manter a sua guarda por um período de no máximo 48
                                                      F




horas além do tempo que você teria sido liberado com base nas suas acusações ou condenações criminais. Se o DHS
                                                   LI




não leva-lo sob custódia durante este período adicional de 48 horas, você deve entrar em contato com quem
tiver a sua custódia (a agência onde você está atualmente detido) para perguntar a respeito da sua liberação. Se você
acredita ser um cidadão dos Estados Unidos ou a vítima de um crime, por favor informe ao DHS através de uma
ligação gratuita ao Centro de Suporte de Segurança Pública do Serviço de Imigração e Alfândega (ICE) pelo
telefone (855) 448-6903.




DHS Form I-247A (3/17)                                                                                       Page 2 of 3
                                                                                        Exhibit 19 - 010
     Case 8:21-cv-00541-CEH-SPF Document 29-1 Filed 04/05/21 Page 11 of 15 PageID 825

                                          THÔNG BÁO CHO NGѬӠI Bӎ GIAM

Bӝ Nӝi An (DHS) ÿã ra lӋnh giam giӳ di trú ÿӕi vӟi quý vӏ. Giam giӳ di trú là mӝt thông báo cho cѫ quan công lӵc rҵng Bӝ
Nӝi An sӁ ÿҧm ÿѭѫng viӋc lѭu giӳ quý vӏ (sau khi quý vӏ ÿѭӧc thҧ ra) bӣi có lý do khҧ tín quý vӏ là ÿӕi tѭӧng bӏ trөc xuҩt
khӓi Hoa KǤ theo luұt di trú liên bang. Sau khi quý vӏ ÿã thi hành ÿҫy ÿӫ thӡi gian cӫa bҧn án dӵa trên các tӝi phҥm hay
các kӃt án, thay vì ÿѭӧc thҧ tӵ do, Bӝ Nӝi An ÿã yêu cҫu cѫ quan công lӵc giӳ quý vӏ lҥi thêm không quá 48 tiӃng ÿӗng
hӗ nӳa. NӃu Bӝ Nӝi An không ÿӃn bҳt quý vӏ sau 48 tiӃng ÿӗng hӗ phө trӝi ÿó, quý vӏ cҫn liên lҥc vӟi cѫ quan hiӋn ÿang
giam giӳ quý vӏ dӇ tham khҧo vӅ viӋc trҧ tӵ do cho quý vӏ. NӃu quý vӏ là công dân Hoa KǤ hay tin rҵng mình là nҥn nhân
cӫa mӝt tӝi ác, xin vui lòng báo cho Bӝ Nӝi An bҵng cách gӑi sӕ ÿiӋn thoҥi miӉn phí 1(855) 448-6903 cho Trung Tâm Hӛ
Trӧ Cѫ Quan Công Lӵc Di Trú.



                                                   塓㊀䔁侭忂䞍㚠
⚳⛇⬱ℐ悐(Department of Homeland Security炻䯉䧙DHS)⶚䴻⮵Ἀ䘤↢䦣㮹㊀䔁Ẍˤ
䦣㮹㊀䔁Ẍ䁢ᶨ䴎Ḱ➟㱽㨇㥳䘬忂䞍㚠炻斉㖶DHSシ㫚䌚⍾⮵Ἀ䘬估㉤㪲(劍朆㚱㬌估㉤
㪲炻Ἀ⮯㚫塓慳㓦)烊⚈䁢㟡㒂倗恎䦣㮹㱽ἳ炻᷎➢㕤⎰䎮䘬⍇䓙炻Ἀ⮯㚫塓怆妋暊伶
⚳⚳⠫ˤDHSṎ⶚天㯪䎦㬋㊀䔁Ἀ䘬➟㱽㨇㥳炻⛐Ἀ⚈⍿⇘↹ḳ㩊㍏ㆾ⭂伒⼴炻侴⛐㛔
ㅱ塓慳㓦䘬䦳⸷ᶳ炻两临⮵Ἀἄ↢ᶵ崭忶⚃⋩ℓ⮷㗪䘬䚋䭉ˤ劍Ἀ⛐忁旬≈䘬⚃⋩ℓ⮷
㗪ℏ炻ṵ㛒⍲䦣Ṍ军DHS䘬䚋䭉ᶳ炻Ἀㅱ䔞倗䴉Ἀ䘬䚋䭉Ṣ(⌛䎦㬋䚋䭉Ἀ䘬㨇㥳)㞍娊
㚱斄Ἀ慳㓦䘬ḳ⭄ˤ劍Ἀ娵䁢Ἀ㗗伶⚳℔㮹ㆾ䁢伒㟰⍿⭛侭炻婳农暣ICE➟㱽悐㓗㎜ᷕ⽫
(Law Enforcement Support Center)䞍㚫DHS炻⃵屣暣娙嘇䡤烉(855)448-6903ˤ
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                                                           ED
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DHS Form I-247A (3/17)                                                                                          Page 3 of 3
                                                                                          Exhibit 19 - 011
Case 8:21-cv-00541-CEH-SPF Document 29-1 Filed 04/05/21 Page 12 of 15 PageID 826


   From:
   To:              Thomas, Kimberly L
   Cc:
   Subject:         Lifted Detainer
   Date:            Wednesday, March 3, 2021 10:40:47 AM
   Attachments:     I-247 Lifted Detainer MATA, Waldo.pdf


   Good morning,
   Please see the attached lifted detainer for the following:
   Mata-key, Waldo
   DC#: L26472
   A074 029 352
   This Subject does not meet the new interim priorities.

   DEPORTATION OFFICER
   Miami Field Office, Jacksonville Sub-Office
   Enforcement and Removal Operations
   U.S. Immigration and Customs Enforcement
   Desk:                Cell:




                                                                Exhibit 19 - 012
   Case 8:21-cv-00541-CEH-SPF Document 29-1 Filed 04/05/21 Page 13 of 15 PageID 827

                                                 DEPARTMENT OF HOMELAND SECURITY
                                     IMMIGRATION DETAINER - NOTICE OF ACTION
Subject ID:     368509499                                                                        File No:   074 029 352
Event #:        JAC2006000108                                                                    Date:      June 15, 2020

TO: (Name and Title of Institution - OR Any Subsequent Law                  FROM: (Department of Homeland Security Office Address)
     Enforcement Agency) FL DEPT OF CORRECTIONS                              ERO - Jacksonville, FL Sub Office
                         2601 BLAIRSTONE ROAD                                ICE
                         TALLAHASSEE, FL 32399                               ERO JACKSONVILLE Sub Office
                                                                             13077 VEVERAS DRIVE
                                                                             JACKSONVILLE, FL 32258

Name of Alien:      MATA-REY, WALDO DENNY AKA: MATA, Waldo


Date of Birth:                                     Citizenship:                           CUBA                                 Sex:              M


 1. DHS HAS DETERMINED THAT PROBABLE CAUSE EXISTS THAT THE SUBJECT IS A REMOVABLE ALIEN. THIS
    DETERMINATION IS BASED ON (complete box 1 or 2).                                  Inmate #: L26472

       A final order of removal against the alien;
       The pendency of ongoing removal proceedings against the alien;
       Biometric confirmation of the alien’s identity and a records check of federal databases that affirmatively indicate, by themselves
       or in addition to other reliable information, that the alien either lacks immigration status or notwithstanding such status is
       removable under U.S. immigration law; and/or
       Statements made by the alien to an immigration officer and/or other reliable evidence that affirmatively indicate the alien either
       lacks immigration status or notwithstanding such status is removable under U.S. immigration law.

 2. DHS TRANSFERRED THE ALIEN TO YOUR CUSTODY FOR A PROCEEDING OR INVESTIGATION (complete box 1 or 2).

       Upon completion of the proceeding or investigation for which the alien was transferred to your custody, DHS intends to resume
       custody of the alien to complete processing and/or make an admissibility determination.
                                                                          D


IT IS THEREFORE REQUESTED THAT YOU:
                                                                      E



   • Notify DHS as early as practicable (at least 48 hours, if possible) before the alien is released from your custody.
                                                                   FT




                                                                                                                           Please notify
    DHS by calling           U.S. Immigration and Customs Enforcement (ICE) or              U.S. Customs and Border Protection (CBP) at
                                                                LI




       904-288-4623 . If you cannot reach an official at the number(s) provided, please contact the Law Enforcement Support
     Center at: (802) 872-6020.
   • Maintain custody of the alien for a period NOT TO EXCEED 48 HOURS beyond the time when he/she would otherwise have
     been released from your custody to allow DHS to assume custody. The alien must be served with a copy of this form for the
     detainer to take effect. This detainer arises from DHS authorities and should not impact decisions about the alien’s bail,
     rehabilitation, parole, release, diversion, custody classification, work, quarter assignments, or other matters
   • Relay this detainer to any other law enforcement agency to which you transfer custody of the alien.
   • Notify this office in the event of the alien's death, hospitalization or transfer to another institution.
                                                                                                              06/15/2020
       If checked: please cancel the detainer related to this alien previously submitted to you on                                (date).


                 (Name and title of Immigration Officer)                                 (Signature of Immigration Officer) (Sign in ink)
                                                                        ED




 Notice: If the alien may be the victim of a crime or you want the alien to remain in the United States for a law enforcement purpose,
 notify the ICE Law Enforcement Support Center at (802) 872-6020. You may also call this number if you have any other questions or
                                                                  FT




 concerns about this matter.
                                                                LI




TO BE COMPLETED BY THE LAW ENFORCEMENT AGENCY CURRENTLY HOLDING THE ALIEN WHO IS THE SUBJECT OF THIS
NOTICE:

Please provide the information below, sign, and return to DHS by mailing, emailing or faxing a copy to                                       .
Local Booking/Inmate #:                 Estimated release date/time:
Date of latest criminal charge/conviction:                       Last offense charged/conviction:

This form was served upon the alien on                            , in the following manner:

    in person           by inmate mail delivery            other (please specify):


                   (Name and title of Officer)                                                      (Signature of Officer) (Sign in ink)
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                                                                                                                Exhibit 19 - 013
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                                             NOTICE TO THE DETAINEE
The Department of Homeland Security (DHS) has placed an immigration detainer on you. An immigration detainer is a
notice to a law enforcement agency that DHS intends to assume custody of you (after you otherwise would be released
from custody) because there is probable cause that you are subject to removal from the United States under federal
immigration law. DHS has requested that the law enforcement agency that is currently detaining you maintain custody of
you for a period not to exceed 48 hours beyond the time when you would have been released based on your criminal
charges or convictions. If DHS does not take you into custody during this additional 48 hour period, you should
contact your custodian (the agency that is holding you now) to inquire about your release. If you believe you are a
United States citizen or the victim of a crime, please advise DHS by calling the ICE Law Enforcement Support
Center toll free at (855) 448-6903.


                                     NOTIFICACIÓN A LA PERSONA DETENIDA
El Departamento de Seguridad Nacional (DHS) le ha puesto una retención de inmigración. Una retención de inmigración
es un aviso a una agencia de la ley que DHS tiene la intención de asumir la custodia de usted (después de lo contrario,
usted sería puesto en libertad de la custodia) porque hay causa probable que usted está sujeto a que lo expulsen de los
Estados Unidos bajo la ley de inmigración federal. DHS ha solicitado que la agencia de la ley que le tiene detenido
actualmente mantenga custodia de usted por un periodo de tiempo que no exceda de 48 horas más del tiempo original
que habría sido puesto en libertad en base a los cargos judiciales o a sus antecedentes penales. Si DHS no le pone en
custodia durante este periodo adicional de 48 horas, usted debe de contactarse con su custodio (la agencia que
le tiene detenido en este momento) para preguntar acerca de su liberación. Si usted cree que es un ciudadano de los
Estados Unidos o la víctima de un crimen, por favor avise al DHS llamando gratuitamente al Centro de Apoyo a la
Aplicación de la Ley ICE al (855) 448-6903.


                                          AVIS AU DETENU OU À LA DÉTENUE
 Le Département de la Sécurité Intérieure (DHS) a placé un dépositaire d'immigration sur vous. Un dépositaire
                                                         ED


 d'immigration est un avis à une agence de force de l'ordre que le DHS a l'intention de vous prendre en garde à vue
 (après celà vous pourrez par ailleurs être remis en liberté) parce qu'il y a une cause probable que vous soyez sujet à
                                                     FT




 expulsion des États-Unis en vertu de la loi fédérale sur l'immigration. Le DHS a demandé que l'agence de force de
                                                   LI




 l'ordre qui vous détient actuellement puisse vous maintenir en garde pendant une période ne devant pas dépasser 48
 heures au-delà du temps après lequel vous auriez été libéré en se basant sur vos accusations criminelles ou
 condamnations. Si le DHS ne vous prenne pas en garde à vue au cours de cette période supplémentaire de 48
 heures, vous devez contacter votre gardien (ne) (l'agence qui vous détient maintenant) pour vous renseigner sur
 votre libération. Si vous croyez que vous êtes un citoyen ou une citoyenne des États-Unis ou une victime d'un
 crime, s'il vous plaît aviser le DHS en appelant gratuitement le centre d'assistance de force de l'ordre de l'ICE au
 (855) 448-6903



                                            NOTIFICAÇÃO AO DETENTO
O Departamento de Segurança Nacional (DHS) expediu um mandado de detenção migratória contra você. Um mandado
de detenção migratória é uma notificação feita à uma agência de segurança pública que o DHS tem a intenção de
assumir a sua custódia (após a qual você, caso contrário, seria liberado da custódia) porque existe causa provável que
                                                         D




você está sujeito a ser removido dos Estados Unidos de acordo com a lei federal de imigração. ODHS solicitou à agência
                                                       TE




de segurança pública onde você está atualmente detido para manter a sua guarda por um período de no máximo 48
                                                      F




horas além do tempo que você teria sido liberado com base nas suas acusações ou condenações criminais. Se o DHS
                                                   LI




não leva-lo sob custódia durante este período adicional de 48 horas, você deve entrar em contato com quem
tiver a sua custódia (a agência onde você está atualmente detido) para perguntar a respeito da sua liberação. Se você
acredita ser um cidadão dos Estados Unidos ou a vítima de um crime, por favor informe ao DHS através de uma
ligação gratuita ao Centro de Suporte de Segurança Pública do Serviço de Imigração e Alfândega (ICE) pelo
telefone (855) 448-6903.




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                                          THÔNG BÁO CHO NGѬӠI Bӎ GIAM

Bӝ Nӝi An (DHS) ÿã ra lӋnh giam giӳ di trú ÿӕi vӟi quý vӏ. Giam giӳ di trú là mӝt thông báo cho cѫ quan công lӵc rҵng Bӝ
Nӝi An sӁ ÿҧm ÿѭѫng viӋc lѭu giӳ quý vӏ (sau khi quý vӏ ÿѭӧc thҧ ra) bӣi có lý do khҧ tín quý vӏ là ÿӕi tѭӧng bӏ trөc xuҩt
khӓi Hoa KǤ theo luұt di trú liên bang. Sau khi quý vӏ ÿã thi hành ÿҫy ÿӫ thӡi gian cӫa bҧn án dӵa trên các tӝi phҥm hay
các kӃt án, thay vì ÿѭӧc thҧ tӵ do, Bӝ Nӝi An ÿã yêu cҫu cѫ quan công lӵc giӳ quý vӏ lҥi thêm không quá 48 tiӃng ÿӗng
hӗ nӳa. NӃu Bӝ Nӝi An không ÿӃn bҳt quý vӏ sau 48 tiӃng ÿӗng hӗ phө trӝi ÿó, quý vӏ cҫn liên lҥc vӟi cѫ quan hiӋn ÿang
giam giӳ quý vӏ dӇ tham khҧo vӅ viӋc trҧ tӵ do cho quý vӏ. NӃu quý vӏ là công dân Hoa KǤ hay tin rҵng mình là nҥn nhân
cӫa mӝt tӝi ác, xin vui lòng báo cho Bӝ Nӝi An bҵng cách gӑi sӕ ÿiӋn thoҥi miӉn phí 1(855) 448-6903 cho Trung Tâm Hӛ
Trӧ Cѫ Quan Công Lӵc Di Trú.



                                                   塓㊀䔁侭忂䞍㚠
⚳⛇⬱ℐ悐(Department of Homeland Security炻䯉䧙DHS)⶚䴻⮵Ἀ䘤↢䦣㮹㊀䔁Ẍˤ
䦣㮹㊀䔁Ẍ䁢ᶨ䴎Ḱ➟㱽㨇㥳䘬忂䞍㚠炻斉㖶DHSシ㫚䌚⍾⮵Ἀ䘬估㉤㪲(劍朆㚱㬌估㉤
㪲炻Ἀ⮯㚫塓慳㓦)烊⚈䁢㟡㒂倗恎䦣㮹㱽ἳ炻᷎➢㕤⎰䎮䘬⍇䓙炻Ἀ⮯㚫塓怆妋暊伶
⚳⚳⠫ˤDHSṎ⶚天㯪䎦㬋㊀䔁Ἀ䘬➟㱽㨇㥳炻⛐Ἀ⚈⍿⇘↹ḳ㩊㍏ㆾ⭂伒⼴炻侴⛐㛔
ㅱ塓慳㓦䘬䦳⸷ᶳ炻两临⮵Ἀἄ↢ᶵ崭忶⚃⋩ℓ⮷㗪䘬䚋䭉ˤ劍Ἀ⛐忁旬≈䘬⚃⋩ℓ⮷
㗪ℏ炻ṵ㛒⍲䦣Ṍ军DHS䘬䚋䭉ᶳ炻Ἀㅱ䔞倗䴉Ἀ䘬䚋䭉Ṣ(⌛䎦㬋䚋䭉Ἀ䘬㨇㥳)㞍娊
㚱斄Ἀ慳㓦䘬ḳ⭄ˤ劍Ἀ娵䁢Ἀ㗗伶⚳℔㮹ㆾ䁢伒㟰⍿⭛侭炻婳农暣ICE➟㱽悐㓗㎜ᷕ⽫
(Law Enforcement Support Center)䞍㚫DHS炻⃵屣暣娙嘇䡤烉(855)448-6903ˤ
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